  Case 4:18-cv-00178-A Document 62 Filed 11/27/18   Page 1U.S.
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                                                      NORTHERN DISTRICT OF TEXAS
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                 IN THE UNITED STATES DISTRI T C01RT
                      NORTHERN DISTRICT OF 'TE AS    NOV          2 7 2018
                          FORT WORTH DIVISION

PAULETTE JENKINS, AS THE             §                 CLERK, U.S. DISTRICT COURT
PERSONAL REPRESENTATIVE OF THE       §                   B~--.,,,--...---­
                                                                 ncputy
ESTATE OF BEAUFORD JENKINS,          §
DECEASED,                            §
                                     §
           Plaintiff,                §
                                     §
vs.                                  §   NO. 4:18-CV-178-A
                                     §
BNSF RAILWAY COMPANY,                §
                                     §
           Defendant.                §


                          MEMORANDUM OPINION
                                  and
                                 ORDER

      Before the court for decision is the motion for summary

judgment filed October 25, 2018, by defendant, BNSF Railway

Company.   After having considered such motion and its supporting

brief and appendix, the brief in opposition thereto of plaintiff,

Paulette Jenkins, as the Personal Representative of the Estate of

Beauford Jenkins, Deceased, and its supporting appendix,

defendant's objections to plaintiff's summary judgment evidence

and reply brief in support of its motion for summary judgment,

the entire record of this action, and pertinent legal

authorities, the court has concluded that such motion should be

granted.
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                                                  I.

                                  History of the Litigation

A.      The Original Complaint

        This action was instituted by the filing by plaintiff of her

complaint on March 5, 2018.                   Plaintiff alleged in a conclusory

way causes of action under the Federal Employers' Liability Act,

45 U.S.C.       §   51,       et seq.   ("FELA"), and the Locomotive Inspection

Act, 4 9 U.S. C.          §    20701 ("LIA") .

        She alleged that:

        She is the widow of Beauford Jenkins                       ("Mr. Jenkins").

Doc.' 1 at 1, ,           2.     Mr. Jenkins "was employed by the Defendant

railroad as a carman/fireman/engineer/train master and was acting

in the course and scope of his employment with Defendant."                                     Id.

at 2, , 4.          "During the course and scope of his career with

Defendant railroad and while working in the Defendant's yards,

buildings, locomotives and along its right of ways,                                [Mr. Jenkins]

was exposed to various toxic substances and carcinogens including

but not limited to diesel fuel/exhaust, benzene, herbicides,

creosote and rock/mineral/asbestos dust and fibers."                                  Id., ,     6.

Mr. Jenkins's exposure to those "toxic substances and known

carcinogens, whether by touch, inhalation or consumption, in




        'The "Doc. _ " references are to the numbers assigned to the referenced items on the docket in
this Case No. 4: l 8-CV-178-A.

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whole or in part, caused or contributed to his development of

bladder cancer."           Id., ,   7.   Mr. Jenkins's "cancer and related

diseases are the result of the negligence of the Defendant

railroad in that it utilized known cancer causing materials in

its operations, which the Defendant knew, or in the ordinary

exercise of ordinary care should have known, were deleterious,

poisonous, toxic and highly harmful to its employees' health."

Id.,    ,    9.     "Defendant failed to provide [Mr. Jenkins] with

locomotives that had proper and adequate ventilation and/or air

filtration systems, the failure of which allowed diesel fumes,

dust,       fibers and toxins to accumulate and, subsequently, be

inhaled by [Mr. Jenkins] . "             Id. at 4, , 12.    In addition,

defendant "failed to: install proper engine exhaust filters;

utilize low emissions fuel such as bio diesel and[] mandate

cleaner burning engines from the locomotive manufacturers."                   Id.,

, 13.       The "occurrences were caused in whole or in part by the

negligence of the Defendant and/or the negligence of the

Defendant's agents, servants and/ or employees."                Id., , 14.     "As

a direct result of the negligence of the Defendant railroad,                   [Mr.

Jenkins]          experienced and endured pain, suffering, inconvenience,

irritation, annoyance; suffered emotional distress; incurred

medical expenses associated with diagnosis and treatment .




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[and]       died on March 7, 2015 as a result of complications from

bladder cancer."              Id., both,, 15.

        Plaintiff alleged that she seeks all damages recoverable

under the FELA, id.,               , 16; and she demanded judgment in excess of

$150,000, id., prayer.

B.      Defendant's Motions for More Definite Statement and Lone
        Pine Order

        Plaintiff caused a copy of her complaint to be served on

defendant on May 25, 2018.                     Doc. 23.        On June 22, 2018, defendant

filed a motion (amending an earlier one)                             for more definite

statement and a motion for Lone Pine order', alleging, inter

alia, that:

             This action is one of approximately thirty Federal
        Employers Liability Act ("FELA") cases filed against
        BNSF by the same plaintiffs' counsel in various federal
        courts around the country.  The firm's boilerplate
        complaints repeat the same vague, broad allegations of
        exposure to multiple substances to employees with
        different jobs and workplaces. Because of these broad,
        vague "railroad work causes cancer" allegations, BNSF
        is unable to understand the true theory of this
        Plaintiff's case and reasonably prepare a response.
        Plaintiff's allegations fail to provide sufficient
        notice of the particular claims asserted against BNSF
        in this action. Therefore, the Court should require
        Plaintiff to amend the Complaint to address these
        deficiencies and thereby provide a more definite



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          Lone Pine orders are named for Lore v. Lone Pine Corp., No. L-33606-85, 1986 WL 637507
(N.J. Super. Ct. 1986). See Acuna v. Brown & Root. Inc., 200 F.3d 335, 340 (5th Cir. 2000). They are
"designed to handle the complex issues and potential burdens on defendants and the court in mass tort
litigation," which in federal court "are issued under the wide discretion afforded district judges over the
management of discovery under Fed. R. Civ. P. 16." Id.

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        statement of his [sic] claims and allegations pursuant
        to Fed. R. Civ. P. 12(e)

Doc. 25 at 4.

C.      Plaintiff's First Amended Complaint

        Instead of responding to the amended motions, plaintiff

filed on July 12, 2018, an amended complaint. 3                              She did not

eliminate the generalities about which defendant complained in

its motions.          Rather, she added to the generalities, thus making

even more difficult for defendant to initiate pointed discovery

or otherwise prepare for a defense of plaintiff's claims.                                      Doc.

27.

D.      Order Granting One of the Motions and Withholding a Ruling
        on the Other

        The court treated defendant's motion for more definite

statement as being directed to the amended complaint, and the

court granted the motion by an order issued July 16, 2018,

requiring that by July 30, 2018, plaintiff file a second amended

complaint in which she was to provide the specificity sought by




        3
          0n July 19, 2018, plaintiff filed a motion for leave to file a response in opposition to
defendant's motion for "more definitive statement." Doe. 34. The court granted that motion by an order
issued July 19, 2018, doc. 35, but in the same order the court directed that the July 16 order requiring
plaintiff to file a second amended complaint remained in effect, id. at 2.

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defendant.'             Doc. 33 at 8.            In the same July 16 order, the court

withheld ruling on defendant's request for a Lone Pine-type

order, but gave defendant an opportunity to pursue that matter

further after receiving plaintiff's second amended complaint.

Id. at 9-10.

E.      Plaintiff's Second Amended Complaint

        Plaintiff filed her second amended complaint on July 30,

2018.         Doc. 41.         She persisted in her general, conclusory

allegations, with slight alterations.                            She repeated that she

sought "all damages recoverable under the FELA," and demanded

judgment in excess of $150,000.                            Id. at 5-6,    ~   22 and Prayer.

F.      Defendant's Answer to Second Amended Complaint

        On August 24, 2018, the court ordered that by August 31,

2018, defendant answer the second amended complaint.                                     Doc. 48.

Defendant complied by filing an answer that, for the most part,

denied the allegations of the second amended complaint, and

stated as to certain of the allegations that defendant was

without information sufficient to admit or deny.                                   Doc. 51.


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            ln its motion, defendant explained that:

        A more definite statement is needed to show that Plaintiff is entitled to relief, which
        necessarily requires the specific substances at issue and the extent and duration of
        exposure as to each, the specific type of exposure, the specific level of exposure, the
        specific times of exposure, and the specific locations of exposure that allegedly injured
        the decedent as a result of BNSF's negligence.

Doc. 25 at 7.

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G.      Defendant's Renewed Motion for Lone Pine Order

        On September 13, 2018, defendant filed a renewed motion

seeking a Lone Pine order, alleging that plaintiff's second

amended complaint had failed to provide enough specificity to

enable defendant to make a meaningful response to plaintiff's

allegations and to engage in properly focused discovery.                Doc. 52

at 1.

H.      Plaintiff's Response to the Renewed Motion for Lone Pine
        Order

        On September 18, 2018, plaintiff filed a response to the

renewed motion for Lone Pine order.          Doc. 53.     She did not

provide a substantive response, but simply incorporated an

earlier response, and informed the court that several district

courts had previously denied similar motions in other cases.

I.      Order Authorizing Defendant to File a No-Evidence Motion for
        Summary Judgment

        On September 25, 2018, the court issued an order by which

the court expressed disappointment in the lack of specificity in

plaintiff's second amended complaint, and sympathy with

defendant's positions that "plaintiff should be required to make

at least a minimal showing that there is some scientific basis

for her claims, and that defendant should not be required to

engage in lengthy, costly discovery in order to find out the

exact nature of plaintiff's claims against it."             Doc. 54 at 2-3.

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However, rather than to issue a Lone Pine order, the court

authorized defendant to file a no-evidence motion for summary

judgment,   "thus putting plaintiff to the burden of producing

summary judgment evidence raising genuine issues of fact as to

each element of her claim against defendant."           Id. at 3.    The

court expressed its expectations as to the result that would

follow from the filing by defendant of such a motion, by

explaining:

     [T]he court thinks appropriate at this time for
     defendant to file expeditiously a no-evidence motion
     for summary judgment that will flush out whatever
     information defendant might need to proceed with
     discovery if the motion is denied or bring this case to
     an end if plaintiff lacks evidence to raise issues of
     fact as to the essential elements of her claim.

Id. at 4.     Defendant was given a deadline until October 25, 2018,

for the filing of such a motion.         Id. at 5.

     The court denied defendant's renewed motion for Lone Pine

order "on the assumption that if plaintiff has additional

information of the kind defendant is seeking by that renewed

motion, such additional information will be made known to

defendant by plaintiff's response to such a no-evidence motion

for summary judgment."     Id. at 5-6.




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                                       II.

          The Motion for Summary Judgment, Response, and Reply

A.      The Motion and Supporting Brief and Appendix

        On October 25, 2018, defendant filed its motion for summary

judgment, asserting that it "is entitled to judgment as a matter

of law as there is no evidence establishing a genuine dispute of

material fact on the required elements of negligence and

causation regarding the claims of Plaintiff."             Doc. 55 at 1.     The

motion was supported by a brief in which defendant more

specifically stated the grounds of its motion, by alleging that

"Plaintiff Cannot Show That BNSF Breached Its Duty to Mr.

Jenkins," doc. 56 at 3; "Plaintiff Cannot Show That Mr. Jenkins'

Bladder Cancer Was Foreseeable to BNSF," id.; and that "Plaintiff

Has Failed to Make a Showing That BNSF's Negligence, If Any,

Caused Mr. Jenkins' Bladder Cancer," id. at 4.

        As to plaintiff's LIA claim, defendant maintained in its

brief that plaintiff "has demonstrated no facts .                 that BNSF

in fact failed to provide Mr. Jenkins with proper locomotives or

that such alleged failure caused his bladder cancer."              Id. at 3.

        Defendant makes known in its brief that it had sought

specificity relative to plaintiff's claims by service of a set of

written interrogatories and a request for production of documents

on September 21, 2018, with a deadline for answer and response of

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October 22, 2018, but that as of October 25, 2018, plaintiff had

failed to answer or respond to either of them.              Doc. 56 at 1-2.

Defendant added that plaintiff's initial disclosure document

failed to provide defendant the needed information.               Id.

        Accompanying the motion was an appendix that contained the

following material:         (1) a copy of the second amended complaint,

doc. 57 at App. 2-7;        (2) a copy of the unanswered first set of

written interrogatories directed by defendant to plaintiff, id.

at App. 8-17;      (3) a copy of the first requests for production of

documents directed by defendant to plaintiff, to which response

had not been made, id. at App. 18-31;           (4) a copy of the Initial

Disclosures that plaintiff had served on defendant in early

October 2018, id. at App. 32-35; and (5) a copy of this court's

September 25, 2018 order, id. at App. 36-41.

B.      Plaintiff's Response and Supporting Brief and Appendix

        On November 15, 2018, plaintiff filed her response in

opposition to defendant's motion for summary judgment, urging the

court to deny the motion in its entirety.              Doc. 58.   She did not

provide any summary judgment evidence in support of her pleaded

conclusory claims against defendant.           Rather, her brief consisted

primarily of citations of authorities and arguments that discuss

in a general way the proof requirements and standards of conduct




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established by the FELA and court decisions, with emphasis on the

importance of jury determinations in FELA cases.           Doc. 59.

     In the concluding pages of plaintiff's brief, she expressed

her contention that "when all of the evidence included in the

record is viewed in a light most favorable to Plaintiff, there is

more than sufficient evidence creating a fact issue of the jury."

Id. at 16.   She then provided a review of items included in her

appendix that she contended raised issues of fact that defeat

defendant's motion.     Id. at 18-20.

     Plaintiff made no response to the ground of defendant's

motion directed to the absence of evidence supporting the

elements of plaintiff's LIA claim.

     The appendix filed by plaintiff contained the following

material:    (1) a copy of a May 31, 2017 article by Michael J.

Ellenbecker, Sc.D., Certified Industrial Hygienist, titled

"Occupational Exposure of Railroad Workers," doc. 60 at 1-12;

(2) a copy of a publication pertaining to a presentation made at

a May 1955 meeting of the General Claims Division, Association of

American Railroads, id. at 13-18;        (3)- (6) excerpts from

depositions taken in Case No. 17-cv-03572, styled "Collins v.

BNSF Railway Co.," pending in the U.S. District Court for the

Southern District of Texas, id. at 19-31;          (7) a copy of Press

Release No. 213 of International Agency for Research on Cancer

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dated June 12, 2012, titled "IARC: Diesel Engine Exhaust

Carcinogenic," id. at 32-35;                    (8) a copy of a publication titled

"Diesel Exhaust and Cancer," id. at 36-41; and (9) a copy of an

article titled "A Meta-Analysis of Bladder Cancer and Diesel

Exhaust Exposure," id. at 42-47.

C.      Defendant's Objections to Plaintiff's Summary Judgment
        Evidence and Reply Brief in Support of Motion

        On November 16, 2018, defendant filed a document by which it

made objections to plaintiff's summary judgment evidence and

replied to plaintiff's response to defendant's motion.                                     Doc. 61.

        The objections are directed to items (exhibits) 1, 2, 7, 8,

and 9 in the appendix supporting plaintiff's response.

Essentially, the objections are that those items are not

authenticated in such a way that they can be considered as

summary judgment evidence. 5

        As to the merits of defendant's motion, defendant sums up

its reply as follows:

             Exhibiting generic articles, an old opinion, and
        deposition testimony from other cases, Plaintiff
        ignores the arguments in BNSF's Brief.  Plaintiff does
        not attempt to address her failure to respond to any


         'The cotnt is inclined to think that defendant's objections to what plaintiff presents as summary
judgment evidence have merit. None of those items (Exhibits I, 2, 7, 8, and 9 in plaintiff's appendix) are
anything other than generally worded opinions or studies that have not been shown to have any relevance
to the claims being made by plaintiff in this paiticular case. Moreover, as defendant maintains, none of
them is properly authenticated. However, the court is not making specific 1ulings on defendant's
objections inasmuch as they all become moot in light of the rulings the court is making in this
memorandum opinion and order.

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        pending written discovery requests or to provide
        reasonably sufficient Disclosures.  She provides no
        medical records or expert support for her causation
        argument, and her negligence •expert report" is a
        generic discussion of industry knowledge, drafted not
        for this case and long before this Complaint was filed,
        that makes no mention of Plaintiff's decedent, BNSF, or
        the negligence claims in this case.

Id. at 3.

        By way of more pointed response to plaintiff's arguments

that juries should be permitted to decide FELA cases, defendant

called attention to court decisions that involved rulings in

favor of defendants in FELA cases based on lack of evidence of

negligence or because of the plaintiff's failure to produce

probative evidence of causation.             Id. at 4-6.

                                      III.

                                    Analysis

A.      Rules and Court Decisions Pertinent to Plaintiff's
        Obligation to Provide Probative Summary Judgment Evidence in
        Response to Defendant's Motion

        The September 25, 2018 order authorizing defendant to file a

no-evidence motion for summary judgment had as one of its goals

obtaining a definition or definitions of the issues to be

resolved in this action to the end of facilitating discovery and

early disposition of unfounded claims--those embraced in

plaintiff's conclusory pleading in support of which plaintiff

would be unable to adduce any evidence.             Rule 11 of the Federal



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Rules of Civil Procedure contemplates that a plaintiff must have

evidentiary support for her pleaded allegations.          That Rule,

combined with the pretrial requirements of Rule 16 of the Federal

Rules of Civil Procedure, provides part of the rationale for

entry of the court's September 25, 2018 order.

     Moreover, the court has broad authority under Rule 56(f) of

the Federal Rules of Civil Procedure to initiate a summary

judgment motion of its own.      Rule 56(f) gives the court

authority, after giving notice and reasonable time to respond, to

grant summary judgment for a nonmovant and to consider summary

judgment on its own after identifying for the parties material

facts that may not be genuinely in dispute.          From those

provisions, the court infers that Rule 56, perhaps combined with

Rules 11 and 16, provides the court authority to do what the

court did here by the September 25 order.          As that order noted,

the purpose of the motion for summary judgment the court

authorized defendant to file was to "flush out whatever

information defendant might need to proceed with discovery if the

motion is denied or bring this case to an end if plaintiff lacks

evidence to raise issues of fact as to the essential elements of

her claim.•   Doc. 54 at 4.

     Before the September 25 order was issued, defendant had done

what it reasonably could do to gain a ruling of the court that

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would cause plaintiff to take steps to inform defendant of the

factual bases of the broad claims contained in plaintiff's

conclusory pleadings.    And, the court had ruled in response to

defendant's motion for more definite statement that plaintiff

should provide enough specificity in an amended pleading to

enable defendant to proceed with focused discovery and to have an

understanding of the precise nature of the claims being made

against it by plaintiff.     The responses of plaintiff to the

court's rulings made apparent that further action by the court

would be required to cause plaintiff to provide defendant

knowledge of the required factual bases of plaintiff's claims.

     In Celotex Corp. v. Catrett, the Supreme Court provided

express approval of a no-evidence motion for summary judgment.

477 U.S. 317, 323, 325 (1986).      The Court explained that the

movant can discharge its initial summary judgment burden by

pointing out the absence of evidence supporting one or more

essential elements of the nonmoving party's claims,         ~since   a

complete failure of proof concerning an essential element of the

nonmoving party's case necessarily renders all other facts

immaterial."   Id. at 323.    The Court went on to explain that once

the movant has carried its initial burden under Rule 56(a), the

nonmovant must identify evidence in the record that creates a




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genuine dispute as to each of the challenged elements of its

case.     Id. at 324.

        Since Celotex Corp., Rule 56(c) has been amended, but the

Fifth Circuit has made clear that the no-evidence motion for

summary judgment procedure remains acceptable, particularly in a

case such as this.      See Austin v. Kroger Tex., L.P., 864 F.3d

326, 334-35 (5th Cir. 2017).      In Austin, the Fifth Circuit

explained the current status of federal law as applicable to a

no-evidence motion for summary judgment, saying:

        Austin argues that federal law does not allow for "no
        evidence" summary judgment motions, but instead
        requires Kroger to point to evidence in the record
        showing no issue of material fact on causation.  Under
        federal law, however, it has long been the rule that
        when the nonmovant has the burden of proof at trial,
        the moving party may make a proper summary judgment
        motion, thereby shifting the summary judgment burden to
        the nonmovant, with an allegation that the nonmovant
        has failed to establish an element essential to that
        party's case. When a moving party alleges that there
        is an absence of evidence necessary to prove a specific
        element of a case, the nonmoving party bears the burden
        of presenting evidence that provides a genuine issue
        for trial.

Id. at 335 (citations,     internal quotation marks, and parentheses

omitted) .

        The Fifth Circuit went on to explain that a movant meets its

summary judgment burden when it has alleged that there is no

evidence of an essential element of the plaintiff's claim, and

that such an allegation requires the nonmovant "to present

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[evidence of that element]         in order to survive summary judgment."

Id.

        Even if more were required, there is much more in this case.

Defendant has unsuccessfully sought by pretrial motions to force

plaintiff to give defendant the information it needs to proceed

with its discovery and other trial preparation.              In response,

plaintiff has simply thumbed her nose at defendant and the court.

Defendant has gone further by serving pointed discovery requests

on plaintiff in an attempt to obtain the specificity essential to

defense of plaintiff's broadly, conclusory worded allegations

against defendant.        Doc. 52 at App. 8-31.        The summary judgment

record indicates that plaintiff has simply ignored those

discovery requests.

        For the stated reasons, defendant's no-evidence motion was

appropriate, and it put on plaintiff, to avoid summary judgment,

the burden to present responsive summary judgment evidence

raising issues of fact as to all essential elements of

plaintiff's claims against defendant.

B.      The Essential Elements of Plaintiff's Claims

        Plaintiff's original and amended complaints and response to

defendant's motion for summary judgment are an attempt by

plaintif~ to state a statutory cause of action under FELA.                The




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pertinent statutory language defines such a cause of action as

follows:

      Every common carrier by railroad .    . shall be liable
      in damages to any person suffering injury while he is
      employed by such carrier      . for such injury or death
      resulting in whole or in part from the negligence of
      any of the officers, agents, or employees of such
      carrier.

45 U.S.C.    §   51; Norfolk S. Ry. Co. v. Sorrell, 549 U.S. 158, 165

(2007).

      Plaintiff's response to defendant's motion for summary

judgment borders on an argument that the FELA imposes strict

liability on employers if, notwithstanding the absence of

evidence, a jury chooses to make an award to a plaintiff in a

FELA case.       As the First Circuit made clear in Robert v.

Consolidated Rail Corp., 832 F.2d 3 (1st Cir. 1987), that is not

so:

      FELA does not impose strict liability on employers.
      Plaintiffs are still required to prove the traditional
      common law elements of negligence:  duty, breach,
      foreseeability, and causation.

Id. at 6.

      Thus, essential elements of plaintiff's FELA claim that

require summary judgment evidence are that (1) Mr. Jenkins

suffered an injury while employed by defendant;          (2)   such injury

or death resulted in whole or in part from;         (3) the negligence of

any of the officers, agents, or employees of defendant.            The

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court turns now to a discussion of the authorities that define

the ingredients of each of those elements.

     1.      The Injury-on-The-Job Element

     The evidentiary requirement necessary to satisfy the element

that Mr. Jenkins suffered an injury while employed by defendant

is self-defining.     There would have to be evidence that something

happened while Mr. Jenkins was at work for defendant that caused

him to suffer an injury of the kind claimed by plaintiff.

Nothing provided by plaintiff in her appendix constitutes

evidence raising that issue.      The wording of 45 U.S.C.      §   51,

supra at 18, provides the direct authority that absent evidence

on that subject plaintiff does not have a FELA claim against

defendant.

     2.      The Negligence Element

     As the Supreme Court explained in Norfolk,         "the elements of

a FELA claim are determined by reference to the common law."

Norfolk, 549 U.S. at 166.     The standard of care that determines

the existence of negligence is ordinary prudence.          Id. at 169;

see also Gallick v. Baltimore & Ohio R.R. Co., 372 U.S. 108, 118

n. 6 (1963) (explaining that "negligence is the failure to observe

ordinary care, and ordinary care is that degree of care which

people of ordinary prudence and sagacity use under the same or

similar circumstances").

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     An essential ingredient of the negligence element is

reasonable foreseeability of harm.        Gallick, 372 U.S. at 117.

See also Armstrong v. Kansas City S. Ry. Co., 752 F.2d 1110, 1113

(5th Cir. 1985).    In CSX Transportation, Inc. v. McBride, 564

U.S. 685   (2011), the Supreme Court quoted, and expressed approval

of the language in Gallick for that proposition.          Id. at 703.

And, in CSX Transportation, the Court confirmed that an inquiry

to be directed to a fact finder in a FELA case on the negligence

issue is whether the carrier failed to observe that degree of

care which people of ordinary prudence and sagacity use under the

same or similar circumstances, and that the fact finder may be

told that the railroad's duties are measured by what is

reasonably foreseeable under the circumstances.          Id.    The Court

added that "[i]f a person has no reasonable ground to anticipate

that a particular condition             would or might result in a

mishap and injury, then the party is not required to do anything

to correct [the] condition," again quoting Gallick.            Id.

     The recommended definition of negligence in the Fifth

Circuit Pattern Jury Instructions, Civil, appears to be an

accurate summation of the controlling court decisions that define

the evidence that must be adduced in order to raise a genuine




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issue of fact in support of the negligence element of a FELA

claim.    It reads:

          The fact that an accident or injury may have
     happened does not mean that it was caused by anyone's
     negligence.   Defendant [name] is not required to
     guarantee Plaintiff [name] 's safety.   The extent of
     Defendant [name] 's duty is to exercise reasonable care
     under the circumstances to see that the workplace is
     reasonably safe.   Defendant [name] 's duty is measured
     by what is reasonably foreseeable under the
     circumstances.   If Defendant [name] has no reasonable
     ground to anticipate that a particular condition would
     or might result in a mishap and injury, then Defendant
     [name] is not required to do anything to correct that
     condition.

Pattern Jury Instructions, Civil, 5th Cir., 2014 Ed.,          Instruction

5.1, FELA, at 67.

     3.    The Causation Element

     While the causation element has been redefined since 1930,

the decision of the Supreme Court in Atchison, Topeka & Santa Fe

Railway Co. v. Toops, 281 U.S. 351 (1930), still has relevance on

the importance of evidence of causation once proof of negligence

has been established.     In Atchison, the court explained:

      [P]roof of negligence alone does not entitle the
     plaintiff to recover under the Federal Employers'
     Liability Act.   The negligence complained of must be
     the cause of the injury.   The jury may not be permitted
     to speculate as to its cause and the case must be
     withdrawn from its consideration unless there is
     evidence from which the inference may reasonably be
     drawn that the injury suffered was caused by the
     negligent act of the employer.

Id. at 354-55.

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         The current version of the causation element of a FELA claim

was defined (or redefined)         in CSX Transportation as: a railroad

defendant is liable for a worker's injury nif the railroad's

negligence played a part--no matter how small--in bringing about

the injury.•       564 U.S. at 705 (internal brackets omitted).           The

Fifth Circuit Pattern Jury Instructions, Civil, on the causation

issue appear to be an accurate summation of the controlling court

decisions on the causation element.           It reads:

             If negligence is proved, Plaintiff [name) must
        show that it was a cause of the injury for which
        Plaintiff [name) seeks damages.  To be a cause of an
        injury, the negligence must have played a part, no
        matter how slight, in bringing about or causing that
        injury. Negligence may be a cause of injury even
        though it operates in combination with another's act or
        with some other cause, if the negligence played any
        part in causing such injury.

Pattern Jury Instructions, Civil, 5th Cir., 2014 Ed., Instruction

5.1, FELA, at 67.

C.      The Exhibits in Plaintiff's Appendix Do Not Raise an Issue
        of Fact as to Any of the Elements of Plaintiff's Claims

        1.    The Deposition Excerpts

        Four of plaintiff's appendix exhibits are excerpts from

depositions that were taken by an attorney for BNSF Railway

Company in an action pending in the United States District Court

for the Southern District of Texas, Houston Division, on

October 18, 2018, of fellow workers of the plaintiff in that



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action.     Doc. 60 at 19-31.   Each of the deponents had been

identified by the plaintiff, apparently when he gave his

deposition in that action, as someone he had worked with while

employed by the Railway Company.         Id. at 20   (dep. p. 4); 24    (dep.

p. 4); 27 (dep. p. 5); and 30 (dep. p. 4).           None of the

deposition excerpts provide any evidence relative to the claims

of plaintiff in the instant action.        The deposition excerpts are

evidence that the deponents were exposed to diesel exhaust during

their work.     But that information is not evidence of what Mr.

Jenkins might have been exposed to during his work, the length of

that exposure (if there was any), or the effect of any such

exposure on Mr. Jenkins.

        Nor do the deposition excerpts constitute any evidence that

diesel exhaust exposure, even if the court were to assume that

Mr. Jenkins suffered such an exposure, was the result of the

failure of defendant to observe ordinary prudence or reasonable

care.     There is nothing in the deposition excerpts that is

evidence that any such exposure, even if the court assumes that

it existed as to Mr. Jenkins, was such that defendant should

reasonably have foreseen that it would cause the kind of harm

that plaintiff claims it caused Mr. Jenkins.




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     For all of the reasons stated above, the deposition excerpts

provide no evidence creating a fact issue as to the negligence

element of plaintiff's FELA claim.

     Similarly, the deposition excerpts provide no summary

judgment evidence raising a causation issue as to plaintiff's

claims.   Even if the court were to assume, arguendo, that Mr.

Jenkins was exposed to diesel exhaust during his employment by

defendant, and further assumed that such exposure resulted from

the failure of defendant to exercise ordinary care, there still

would be no evidence that such negligence played any part, no

matter how slight, in bringing about or causing the injury of

which plaintiff complains.

     Finally, nothing in the deposition excerpts provides any

summary judgment evidence raising an issue in favor of plaintiff

on the injury-on-the-job element.

     2.   The Remaining Exhibits

     The remaining exhibits (Numbers 1, 2, 7, 8, and 9) are

publications of one kind or another that for the most part deal

with the question of whether diesel exhaust can, under certain

circumstances, be carcinogenic.      There is no summary judgment

evidence from which the inference can be drawn that any of those

items, even if they had been properly authenticated, has

relevance to whatever led to the death of Mr. Jenkins.           For each

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of the reasons given above why the deposition excerpts do not

constitute summary judgment evidence establishing any element of

plaintiff's claims against defendant, nothing in these remaining

exhibits constitutes evidence raising an issue of fact as to any

of those elements.

        Moreover, none of plaintiff's appendix exhibits raise an

issue of fact as to plaintiff's LIA claim.

        Put simply, plaintiff has not adduced any summary judgment

evidence creating a genuine dispute as to any material fact.

D.      Defendant's Motion for Summary Judgment Is to Be Granted

        Rule 56(a) directs that "[t]he court shall grant summary

judgment if the movant shows that there is no genuine dispute as

to any material fact and that the movant is entitled to judgment

as a matter of law."        Fed. R. Civ. P. 56(a) (emphasis added).         The

Supreme Court in Celotex and this court in Austin, supra at 15-

17, have made clear that a motion for summary judgment of the

kind filed by defendant causes plaintiff to have the summary

judgment burden to adduce evidence raising issues of fact as to

the essential elements of each of plaintiff's claims.               Otherwise,

plaintiff's claims will not survive summary judgment.

        Plaintiff is incorrect when she contends in her response

that the courts invariably have determined that a jury should

decide each and every FELA case.            In Huffman v. Union Pacific

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Railroad, the Fifth Circuit explained, in the course of reversing

a jury verdict in favor of the plaintiff in a FELA case and

remanding to the district court for entry of judgment for the

railroad company, that:

          We hold that the evidence was insufficient on
     causation. What form the additional necessary evidence
     should have taken is not before us.  Huffman had
     planned on including expert testimony on causation. We
     are not reviewing the sufficiency of what Huffman
     planned to introduce, but what he actually did.   It was
     not enough.

675 F.3d 412, 426   (5th Cir. 2012).

     Similarly, in the instant action, the evidence was

insufficient on each of the elements of plaintiff's claims.            As

was true in Huffman, the court here is not reviewing the

sufficiency of what plaintiff planned someday to introduce as

evidence, but what plaintiff actually did adduce under the guise

of summary judgment evidence.      It was not enough.

     Plaintiff's arguments that the record is insufficient for

the court to make a ruling on a motion for summary judgment

because no depositions have been taken of coworkers of Mr.

Jenkins, his wife, or experts, and that the record "is at best

incomplete and at worst bare, discovery should continue and

BNSF's motion should be denied."        Doc. 59 at 16.    The "discovery

should continue• suggestion is puzzling, bearing in mind that the

court has not received information that plaintiff has conducted

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any discovery in this case during its pendency since March 2018,

and the record indicates that the only discovery sought to be

accomplished by either party were the unsuccessful attempts by

defendant to obtain specificity as to plaintiff's claims by a set

of written interrogatories and requests for production of

documents served by defendant on plaintiff.         Doc. 52 at App. 8-

31.   As of the date of the filing defendant's motion for summary

judgment, plaintiff had failed to answer or respond to those

discovery items.

      The court notes that plaintiff has not availed herself of

the procedure prescribed by Rule 56(d) of the Federal Rules of

Civil Procedure for relief if a party needs additional time

within which to gather evidence for response to a motion for

summary judgment.    She hardly is in a position now to contend

that she needs additional time for that purpose.

      Plaintiff fails to acknowledge that this action has been

pending since early-March 2018; and that the filing of this

action at that time constituted a certification by plaintiff's

attorney that to the best of his knowledge, information, and

belief, formed after an inquiry reasonable under the

circumstances, plaintiff's factual contentions had evidentiary

support.   Fed. R. Civ. P. ll(b) (3).     Moreover, plaintiff has

known for a long period of time that defendant was seeking

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factual specificity concerning plaintiff's claims, but, rather

than to provide that specificity, plaintiff appears to have

consciously taken steps to avoid doing so.         The failure of

plaintiff to do so in response to defendant's motion compels,

under the controlling authorities, the court to conclude that

there is no genuine dispute as to any material fact and that

defendant is entitled to judgment as a matter of law.

                                   IV.

                                  Order

     Therefore,

     The court ORDERS that defendant's motion for summary

judgment be, and is hereby, granted, and that all claims and

causes of action asserted by plaintiff against defendant be, and

are hereby, dismissed with prejudice.

     SIGNED November 27, 2018.
                                           j
                                          /'

                                    I
                                                             Judge




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